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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON


  CIVIL ACTION NO. 09-319-JBC

  ARCH INSURANCE COMPANY, ET AL.,                                          PLAINTIFFS,

  V.                                  JUDGMENT

  BROAN-NUTONE, LLC,                                                      DEFENDANT.


                                 ***********


        The court having held a trial in this matter, and the jury having returned a

  verdict, IT IS ORDERED that JUDGMENT is entered in favor of the plaintiffs in the

  amounts of $463,010.35 for injury to real property, $4,239.60 for loss of personal

  property, and $9,574.62 for loss of clothes or household goods.

        There being no just cause for delay, the court ORDERS that this matter is

  STRICKEN from the court’s active docket. This order is FINAL AND APPEALABLE.




  Signed on September 20, 2011
